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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                   8:02CR164
       vs.                                    )
                                              )                    ORDER
YAMIL RIVERA-KADER,                           )
                                              )
                     Defendant.               )


       This matter is before the court on defendant’s motion to continue trial (#485). Upon
the representations that opposing counsel does not object, and that the defendant will file a
waiver of speedy trial in accordance with NECrimR 12.1,

       IT IS ORDERED that the motion to continue trial (#485) is granted, as follows:

      1. Trial of this matter is continued from May 16, 2006 to June 13, 2006 before
Judge Laurie Smith Camp and a jury.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between May 16, 2006 and June 13,
2006, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act for the reasons stated in the motion, and considering the diligence of
counsel. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

       3. Defendant shall file a speedy trial waiver as soon as is practicable.

       DATED May 8, 2006.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
